
In re State of Louisiana; — Other; Applying For Supervisory and/or Remedial Writs, Parish of Jefferson, 24th Judicial District Court Div. N, No. 10-686; to the *1279Court of Appeal, Fifth Circuit, No. 11-KH-414.
Granted. A review of the guilty plea colloquy reveals that relator entered into a plea agreement which called for deferred sentencing but also provided for an increase in the terms of imprisonment in the event that relator did not appear for imposition of sentence when scheduled. Relator failed to appear as scheduled and the trial court thereafter imposed increased sentences in conformity with the plea agreement. Accordingly, the ruling of the court of appeal granting relator’s application for post-conviction relief and ordering his sentences vacated is reversed and the case is remanded to the court of appeal to consider relator’s request for an out-of-time appeal. See State v. Counterman, 475 So.2d 336 (La.1985); see also La. C.Cr.P. art. 881.2.
